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             UNITED STATES DISTRICT COURT
       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


DAWN KEEFER, et al.,

                Plaintiffs,

          v.                                 No. 1:24-cv-147
                                             Judge Jennifer P. Wilson
JOSEPH R. BIDEN, et al.,

                Defendants.




  BRIEF IN SUPPORT OF MOTION TO DISMISS FILED BY
    GOVERNOR JOSH SHAPIRO, SECRETARY OF THE
COMMONWEALTH AL SCHMIDT, AND DEPUTY SECRETARY
                 JONATHAN MARKS
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                            INTRODUCTION

     A small handful of Pennsylvania’s 203 state representatives and

one of its 50 senators have brought this action based on the idea that the

Secretary    of   the   Commonwealth’s       performance      of   executive

responsibilities statutorily assigned to him somehow usurps the role that

Pennsylvania’s General Assembly has for passing election laws. Nothing

remotely substantiates that unprecedented theory, which is wildly

inconsistent with how elections are run across the country.

     But this Court need not delve into the reasons that Plaintiffs’ theory

is terribly wrong. Binding precedent unimpeachably dictates that

individual legislators, like these Plaintiffs, do not have Article III

standing based on alleged injuries to a legislative body, like those claimed

in this case. The briefs Plaintiffs have filed in support of their motion for

a preliminary injunction only underscore this point. And these Plaintiffs

have not alleged any injury that they have suffered themselves. As a

result, this Court lacks jurisdiction and the Amended Complaint should

be dismissed.
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                             BACKGROUND

     Statutory Framework. Eligible individuals in Pennsylvania must

register in order to vote. Pa. Const. art. VII, § 1; 25 P.S. § 2811.

     The federal National Voter Registration Act requires that states

make available certain methods of applying to register to vote. One of

those methods is that an application for a new or renewed driver’s license

“shall serve as an application for voter registration with respect to

elections for Federal office unless the applicant fails to sign the voter

registration application.” 52 U.S.C. § 20504. This law is colloquially

known as “Motor Voter.”

     To implement Motor Voter, Pennsylvania’s General Assembly

passed legislation instructing that a driver’s license application “shall

serve as an application to register to vote unless the applicant fails to

sign the voter registration application.” 25 Pa.C.S. § 1323(a)(1). The

Secretary of the Commonwealth was assigned “primary responsibility for

implementing and enforcing the driver’s license voter registration system

created under this section.” Id. § 1323(a)(2).1


     1 Among the many ways Plaintiffs misconstrue § 1323, they allege

that the Secretary of Transportation has these responsibilities. Am.
Compl. ¶¶ 123, 129 (ECF No. 18).
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     The Motor Voter process that the General Assembly devised directs

that the “Department of Transportation shall provide for an application

for voter registration as part of a driver’s license application.” Id.

§ 1323(b)(1). The process further directs that “the format of the driver’s

license/voter registration application shall be determined and prescribed

by the secretary [of the Commonwealth] and the Secretary of

Transportation.” Id. § 1323(b)(2).

     The application form must request the applicant’s name, address,

prior registration address, political party, date of birth, telephone

number, and race. Id. §§ 1323(b)(3), 1327(a). Applicants must also

declare under penalty of perjury that they are qualified to vote in

Pennsylvania. Id. § 1327(b). Completed applications are forwarded to the

applicant’s county registration commission for review and a decision

whether the application will be approved. Id. §§ 1323(c)(1)-(3.1), 1328.

     County commissions reject a registration application if: (1) it is “not

properly completed” and, following the Commission’s reasonable efforts,

“remains incomplete or inconsistent,” (2) if the applicant is not qualified,

or (3) if the applicant is not entitled to the transfer of registration they

have requested. Id. § 1328(b)(2).


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     2023 Redesign. On September 19, 2023, Governor Shapiro

announced that the Departments of State and Transportation had

redesigned the format of the driver’s license/voter registration

application. The newly formatted application streamlined the process for

voters by, among other things, prescribing clearer language and

eliminating duplicative parts of the application. Am. Compl. ¶ 109.

     The new format was described as implementing “Automatic Voter

Registration,” because it shifted from a format in which individuals who

meet Pennsylvania’s voter-eligibility criteria may “opt-in” to completing

a voter registration application to a format in which those individuals

may “opt-out” from completing a voter registration application. Ex. F to

Am. Compl. (ECF No. 18-6).

     As before, anyone who meets the eligibility criteria may choose to

complete a voter registration application or not.

     Also as before, any application that is completed is directed to the

appropriate county commission for review and an approval decision. 25

Pa.C.S. §§ 1323(c)(1)-(3.1), 1328.

     2018 HAVA Directive. Separately, in 2018, under its authority to

take any action “necessary to ensure compliance and participation by the


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commissions” with voter registration laws, 25 Pa.C.S. § 1803(a), the

Department of State directed county registration commissions not to

reject an application solely because of a non-match between an

applicant’s driver’s license number or Social Security number—which the

federal Help America Vote Act (“HAVA”) requires a voter-registration

applicant provide if she has one—and external databases against which

HAVA requires that information be compared, if provided. See Ex. B. to

Am. Compl. (ECF No. 18-2).

     Plaintiffs’ Amended Complaint. As to the three Pennsylvania

Defendants, Plaintiffs—26 of the 203 representatives in Pennsylvania’s

General Assembly and one of the 50 senators—allege that the 2023

redesign and 2018 HAVA directive violate Article I, § 4 (the Elections

Clause) and Article II, § 1 (the Electors Clause) of the U.S. Constitution.

Am. Compl. ¶¶ 212-30.

                       STANDARD OF REVIEW

     Facial challenges to subject matter jurisdiction under Rule 12(b)(1)

and motions to dismiss under Rule 12(b)(6) are evaluated under the same

standard of review. Nigro v. Pa. Higher Educ. Assistance Agency, No. 19-

2000, 2020 WL 5369980, at *5 (M.D. Pa. Sept. 8, 2020). Here, then, the


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Court must consider whether the Amended Complaint contains sufficient

plausible factual allegations to establish this Court’s subject matter

jurisdiction and whether it states a claim for relief that is plausible on its

face. Id. at *4-5.

                               ARGUMENT

      This Court should dismiss the Amended Complaint because no

Plaintiff has standing and therefore the Court lacks subject matter

jurisdiction. While the Court need not—and should not—go beyond the

absence of subject matter jurisdiction, if the Court does it should dismiss

the Amended Complaint for failure to state a claim for relief.

I.    Plaintiffs Lack Standing

      The U.S. Constitution confines a federal court’s jurisdiction to

“Cases” and “Controversies.” U.S. Const. art. III, § 2. This limit is

enforced by requiring that a plaintiff establish her standing, which in

turn requires her to demonstrate that she suffered (1) an injury in fact,

(2) caused by the conduct complained of, and that is (3) capable of judicial

remedy. Yaw v. Delaware River Basin Comm’n, 49 F.4th 302, 310 (3d Cir.

2022). Respect for separation of powers makes standing concerns

“particularly acute” in cases brought by legislators. Russell v. DeJongh,

491 F.3d 130, 134 (3d Cir. 2007).
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     For injury in fact, a plaintiff cannot rely upon a general interest “in

the proper application of the Constitution and laws.” Lujan v. Defenders

of Wildlife, 504 U.S. 555, 573 (1992). Injuries must be personal to the

plaintiff as well as “concrete” and “particularized.” Raines v. Byrd, 521

U.S. 811, 818-19 (1997); see also Yaw, 49 F.4th at 311, 314-15.

     Here, accepting their non-conclusory allegations, Plaintiffs have

not alleged any concrete, particularized injury specific to them.

     The Amended Complaint makes abundantly clear that the

supposed injury here is a usurpation of the Pennsylvania General

Assembly’s institutional prerogatives under the Elections and Electors

Clauses. See Am. Compl. ¶¶ 30-49, 112-114, 147, 167 (detailing

constitutional powers of the “legislature”). Those alleged injuries were

purportedly caused by executive acts of the Pennsylvania Defendants

that Plaintiffs believe conflict with state law. Id. at ¶¶ 109-138

(registration application); id. ¶¶ 139-157 (HAVA directive).

     Yet these allegations raise quintessential claims of institutional

injuries that do not support an individual legislator’s own standing under

Article III. The Supreme Court said as much in Raines v. Byrd. There,

six members of Congress filed suit challenging a statute that allowed the


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President to “‘cancel’ certain spending and tax benefit measures after he

has signed them into law.” 521 U.S. 811, 814 (1997). The legislators

asserted they had standing based on a claimed interest in maintaining

the effectiveness of their votes. Id. at 821-22. The Court ruled that such

an interest was shared equally by every member of Congress’s two bodies

such that no individual member had a personal stake; the alleged injury

was instead an “institutional injury.” Id. at 821, 829-30. Further, the

legislators’ powers remained unencumbered because nothing about the

challenged statute would “nullify [the legislators’] votes in the future”

and a “majority of Senators and Congressmen can pass or reject

appropriation bills; the Act has no effect on this process.” Id. at 824. A

majority also could have repealed the challenged statute altogether. Id.

     Since Raines, the Supreme Court has reiterated that only a

legislature has standing based on injuries to the legislature. In Arizona

State Legislature v. Arizona Independent Redistricting Commission, the

Court concluded that Arizona’s complete legislature had standing to

bring a claim alleging violations of the Elections Clause. 576 U.S. 787,

804-04 (2015). The Court distinguished Raines as an action brought by

only individual legislators. Id. 801-02. And the legislature itself had


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standing because the referendum being challenged had “permanently

deprived the legislative plaintiffs of their role in the redistricting

process.” Virginia House of Delegates v. Bethune-Hill, 139 S. Ct. 1945,

1954 (2019) (emphasis in original) (explaining Court’s holding in

Arizona).

     In Yaw v. Delaware River Basin Commission, the Third Circuit

affirmed that supposed deprivations of a legislature’s constitutional

lawmaking powers are institutional injuries that individual legislators

lack standing to pursue in federal court. In that case, the Third Circuit

considered whether Pennsylvania senators had standing to challenge a

localized ban on fracking that they alleged had “deprived them of their

lawmaking authority.” Yaw, 49 F.4th at 311 (cleaned up). Plaintiffs had

tried seven different ways to describe how the ban had harmed them as

legislators, including claiming that the ban “displaced and/or suspended

the Commonwealth’s comprehensive statutory scheme” and that the ban

“attempted to exercise legislative authority exclusively vested in the

General Assembly.” Id. at 313-14. But the Third Circuit affirmed that it

does not matter how individual legislators attempt to describe their loss

of legislative power: “A general loss of legislative power that is widely


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dispersed and necessarily damages all members of the General Assembly

equally” is an institutional injury that only the institution itself may

pursue in court. Id. at 313-14 (cleaned up).

       A three-judge panel of this Court enforced the same limit when

leaders of Pennsylvania’s General Assembly and members of the U.S.

House of Representatives asserted that the Pennsylvania Supreme Court

had violated the Elections Clause by declaring a congressional districting

map unconstitutional and issuing a remedial map. Corman v. Torres, 287

F. Supp. 3d 558, 565 (M.D. Pa. 2018). This Court, citing Raines and

Arizona, held that Pennsylvania legislators did not suffer any

particularized injury from the “purported usurpation of the Pennsylvania

General Assembly’s exclusive rights under the Elections Clause of the

United States Constitution.” Id. at 567. Raines and Arizona, this Court

recognized, definitively resolved that “a legislator suffers no Article III

injury when alleged harm is borne equally by all members of the

legislature.” Id.

       Plaintiffs have no way around this conclusive precedent, which

“flows naturally from bedrock standing requirements.” Yaw, 49 F.4th at

314.


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     Instead, they make conclusory assertions that standing exists

because executive acts that allegedly conflict with state law infringe upon

legislators’ rights under the U.S. Constitution to make election laws. Am.

Compl. ¶¶ 50, 164. But that assertion—in addition to being materially

indistinguishable from Yaw and Corman—does not explain what injury

any Plaintiff has suffered.2 And precedent “uniformly” holds that an

allegation that executive action violated a duly enacted statute, and thus

deprived a lawmaker of their powers, “is not an injury for standing

purposes.” Russell, 491 F.3d at 134.

     There is nothing in the Amended Complaint (nor could there be)

that identifies how any Plaintiff is affected by the conduct challenged in

this case in a way that is any different from any other member of

Pennsylvania’s General Assembly. Am. Compl. ¶¶ 160-168. The absence

of any distinction among members dooms Plaintiffs’ standing. Grievances


     2 It is also wrong. The Elections and Electors Clauses speak only of

responsibilities assigned to the “legislature.” U.S. Const. art. I, § 4; U.S.
Const. art. II, § 1. For that reason, claims for alleged violations of these
provisions would belong to the legislature. Bognet v. Sec’y of the
Commonwealth, 980 F.3d 336, 350 (3d Cir. 2020), vacated as moot by
Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021); see also Corman, 287 F.
Supp. 3d at 569 (ruling that an alleged “usurpation of the General
Assembly’s power” does not deprive any individual legislator “of any
rights vested personally in them by the Elections Clause”).
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that belong to “all members of the General Assembly equally” are “classic

examples of institutional injuries.” Yaw, 49 F.4th at 314 (cleaned up); see

also Raines, 521 U.S. at 821 (holding that legislators lacked standing

because none had “been singled out for specially unfavorable treatment

as opposed to other Members of their respective bodies”). In these

circumstances, “United States Supreme Court precedent is clear—a

legislator suffers no Article III injury when alleged harm is borne equally

by all members of the legislature.” Corman, 287 F. Supp. 3d at 567.

     In preliminary injunction briefing that preceded this motion to

dismiss, Plaintiffs completely ignored Arizona, Yaw, and Corman,

despite that those cases conclusively resolve their standing. See generally

Br. in Supp. of Prelim. Inj. (ECF No. 23); Reply in Supp. Prelim. Inj. (ECF

No. 44). Cases that Plaintiffs did cite only confirm that standing is

unavoidably lacking here. See Reply in Supp. of Prelim. Inj. at 1-3.

     In Coleman v. Miller, Kansas’s Senate had evenly split on a

resolution; the Lieutenant Governor resolved the divide by voting in favor

of the resolution. 307 U.S. 433, 426 (1939). The defeated bloc filed an

action for an order declaring that the resolution had not passed, which

the Supreme Court allowed to proceed because the senators’ “votes


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against ratification [had] been overridden and virtually naught” and the

senators had an “interest in maintaining the effectiveness of their votes.”

Id. at 438. The Supreme Court has since explained that Coleman “stands

(at most) for the proposition that legislators whose votes would have been

sufficient to defeat (or enact) a specific legislative Act have standing to

sue if that legislative action goes into effect (or does not go into effect), on

the ground that their votes have been completely nullified.” Raines, 521

U.S. at 823; see also Yaw, 49 F.4th at 315-16 (explaining limits of

Coleman). That is not the case here.

      Plaintiffs also have cited the Tenth Circuit’s vacated 2014 decision

in Kerr v. Hickenlooper, in which that court concluded individual

legislators had standing to challenge an amendment to Colorado’s

Constitution that had modified the process for raising revenue. 744 F.3d

1156, 1161-62 (10th Cir. 2014). Stunningly, Plaintiffs have claimed that

the 2014 decision was vacated on unrelated grounds. Reply in Supp. of

Prelim. Inj. at 3. In fact, it was vacated for further consideration after the

Supreme Court’s Arizona decision. See Hickenlooper v. Kerr, 576 U.S.

1079 (2015). On remand, the Tenth Circuit reversed its 2014 legislative

standing decision, explaining that Arizona made it unmistakably clear


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that individual legislators do not have standing to redress alleged

injuries that “necessarily impact[] all members of the General Assembly

equally.” Kerr v. Hickenlooper, 824 F.3d 1207, 1214-17 (10th Cir. 2016).

     Coleman and Kerr certainly do not aid Plaintiffs.

     Finally, Plaintiffs have suggested this Court consider Plaintiffs’

standing under Pennsylvania law rather than Article III. Br. in Supp. of

Prelim. Inj. at 8-9; Reply in Supp. of Prelim. Inj. at 4-5. Their suggestion

fails three times over.

      First, legislators, like every federal plaintiff, must satisfy Article

III requirements. The Third Circuit already has rejected the very

argument Plaintiffs advance here, holding that “even if Pennsylvania

state law would have afforded appellants standing if they had brought

[an] action in state court, we must ensure that they satisfy the federal

requirements for standing as well.” Yaw, 49 F.4th at 316; see also Russell,

491 F.3d at 133 (“Legislators, like other litigants in federal court, must

satisfy the jurisdictional prerequisites of Article III standing.”).

Borrowing from Pennsylvania decisions for this Court’s standing analysis

would be particularly misguided because standing is not a jurisdictional

predicate in Pennsylvania as it is in federal court. See Yaw, 49 F.4th at


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316 (citing Fumo v. City of Philadelphia, 972 A.2d 487, 500 n.5 (Pa.

2009)).

         Second, Plaintiffs’ belief that standing here should be resolved

under Pennsylvania law is based on a complete misunderstanding of

Virginia House of Delegates v. Bethune-Hill. In that case, the Supreme

Court considered two questions: (1) could Virginia’s House of Delegates

represent Virginia’s own legally cognizable interest in defending a state

statute and (2) if not, did the House of Delegates have standing in its own

right.

         On the first question, the Court wrote that Virginia had “standing

to defend the constitutionality of its statute.” Virginia House of Delegates,

139 S. Ct. at 1951. Then, the Court explored which parties Virginia had

authorized to represent its legally cognizable interests, acknowledging

that states may make different choices about who may litigate on its

behalf. Id. at 1951-52. Plaintiffs mistake this discussion of representation

for a discussion of standing. On the second question, the Court held that

“[j]ust as individual members lack standing to assert the institutional

interests of a legislature, a single House of a bicameral legislature lacks




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capacity to assert interests belonging to the legislature as a whole.” Id.

at 1953-54 (citing Raines).

     Third, Plaintiffs would not satisfy Pennsylvania’s prudential

standing requirements. In Pennsylvania, legislator standing exists only

when a legislator’s “ability to participate in the voting process is

negatively impacted, or when a legislator has suffered a concrete

impairment or deprivation of an official power or authority to act as a

legislator.” Allegheny Reprod. Health Ctr. v. Pennsylvania Dep’t of Hum.

Servs., -- A.3d --, No. 26 MAP 2021, 2024 WL 318389, at *22 (Pa. Jan. 29,

2024); see also Markham v. Wolf, 136 A.3d 134, 145 (Pa. 2016). In

Pennsylvania, “[l]egislators may not challenge actions when the injuries

affect conduct outside the legislative forum unrelated to voting or the

approval process.” Allegheny, 2024 WL 318389, at *22.3 Therefore, just

as Plaintiffs cannot satisfy what Article III requires for legislator




     3  Plaintiffs’ belief that “the Pennsylvania Supreme Court has
recognized individual state legislator for all legal topics,” Reply in Supp.
of Prelim. Inj. at 4, is therefore patently wrong. Nor is that claim even
supported by the intermediate court decision Plaintiffs cite.
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standing, Plaintiffs could not satisfy what Pennsylvania prudentially

requires for legislator standing.4

II.   Plaintiffs Lack a Cause of Action

      The absence of standing is sufficient to dismiss Plaintiffs’ Amended

Complaint. Dismissal would be separately required, however, because

these legislators cannot enforce alleged violations of the Elections and

Electors Clauses through 42 U.S.C. § 1983, as they attempt. See Am.

Compl. ¶¶ 213-14, 221-22.

      To bring a § 1983 action, a plaintiff must demonstrate as a

threshold matter that she is the beneficiary of a right protected by federal

statute or the U.S. Constitution. City of Rancho Palos Verdes, Cal. v.


      4 Plaintiffs’ alternative standing arguments, such as that they have

standing as candidates for office or as “citizens, taxpayers, and voters,”
see also Am. Compl. ¶¶ 169-175, are baseless. Plaintiffs fail to identify
any concrete or particularized way that streamlining the process by
which eligible electors can apply to register to vote injures Plaintiffs in
any of these capacities. So here too, Plaintiffs maintain that they are
injured by alleged non-compliance with the law, the same generalized
grievance that courts have repeatedly held does not support standing in
any capacity, e.g., Lance v. Coffman, 549 U.S. 437, 441-42 (2007); Wood
v. Raffensperger, 981 F.3d 1307, 1314 (11th Cir. 2020); Bognet, 980 F.3d
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Abrams, 544 U.S. 113, 120 (2005). Section 1983 is unavailable here

because the Elections Clause (like the Electors Clause) “does not speak

to individual rights” and instead “outlines a structural principle of the

American system of federalism.” Tex. Voters All. v. Dallas Cnty., 495 F.

Supp. 3d 441, 462 (E.D. Tex. 2020). In that way, the Elections and

Electors Clauses are like the Supremacy Clause, which also does not

create any right enforceable through § 1983. Golden State Transit Corp.

v. City of Los Angeles, 493 U.S. 103, 107 (1989).

     In fact, far from creating rights, the Elections Clause imposes a

duty on state legislatures to prescribe rules for federal elections (and on

Congress if a legislature refuses). Moore v. Harper, 600 U.S. 1, 11 (2023).

     Because the Elections and Electors Clauses are structural

provisions that impose duties rather than confer any rights, Plaintiffs

cannot enforce alleged violations of them under § 1983. For this reason,

Plaintiffs have failed to state a claim against the three Pennsylvania

Defendants. The Amended Complaint may also be dismissed on this

basis.




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III. Plaintiffs’ Claims Lack Merit

     Finally, there is no merit to Plaintiffs’ constitutional claims against

the Pennsylvania Defendants.

     Pennsylvania’s     General    Assembly,    like   every   other    state

legislature, assigns election officials certain responsibilities for election

administration. See, e.g., 25 P.S. § 2621 (describing some of the powers

assigned to the Secretary); id. § 2642 (describing some of the powers

assigned to county boards of elections).

     Relevant here, under Pennsylvania’s voter registration law, a

driver’s license application “shall serve as an application to register to

vote unless the applicant fails to sign the voter registration application,”

Id. § 1323(a)(1). And the Secretary (along with the Secretary of

Transportation) shall “determine[] and prescribe[]” “the format of the

driver’s license/voter registration application.” 25 Pa.C.S. § 1323(b)(2).5

     Further, the Secretary has “authority to take any actions, including

the authority to audit the registration records of a commission, which are


     5 In contrast to the power assigned to the Secretaries to determine

the format of the Motor Voter application, the General Assembly
prescribed more specific requirements for the format of the voter
registration application made available through other government
agencies. 25 Pa.C.S. § 1325(b).
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necessary to ensure compliance and participation by the commissions.”

25 P.S. § 1803(a). The Secretary used this power when issuing the 2018

directive to ensure that county commissions understood what HAVA

required during the registration process.

     Assigning election officials executive duties such as these is as

common as it is essential, because “[r]unning elections state-wide is

extraordinarily complicated and difficult. Those elections require

enormous advance preparations by state and local officials and pose

significant logistical challenges.” Merrill v. Milligan, 142 S. Ct. 879, 880

(2022) (Kavanaugh, J., concurring in grant of stay). Indeed, as reflected

by the multitude of responsibilities that the General Assembly has given

them, Pennsylvania’s election officials are essential to the operation of

Pennsylvania’s elections.

     Just as nothing in the Elections or Electors Clause prohibits state

judges from performing their judicial roles, Moore, 600 U.S. at 22-26,

nothing in either clause prohibits executive officials from performing the

executive functions assigned to them by a state legislature. And while

Plaintiffs try to describe the two executive actions as usurping legislative

power, Am. Compl. ¶¶ 160, 162-163, there is no plausible allegation that


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legislative powers have been usurped. Nor could there be. Neither

changes to a registration application nor instructions to counties—both

done under statutorily assigned authority—stops the General Assembly

from passing any laws now or in the future regarding either topic.

     To the extent Plaintiffs allege that either of the two executive

actions at issue here somehow violates state law, that issue is not

properly before this Court, and such allegations are meritless as well.

     “[S]tate courts are the appropriate tribunal” for questions about the

scope of authority that the legislature has assigned to the Secretary of

the Commonwealth under Pennsylvania law. Moore, 600 U.S. at 34

(cleaned up); see also id. at 36 (holding only that the U.S. Constitution

may set the far outer limits of “state court interpretations of state law”).

Acting on purported constitutional claims that fundamentally are

challenges under state law would invite an endless parade of parties

bringing state election disputes immediately into federal courts.6



     6 Federal courts appropriately abstain when presented with a
purported federal question that depends on an interpretation of an
important state law question. R.R. Comm’n of Tex. v. Pullman Co., 312
U.S. 496, 500-01 (1941); Chez Sez III Corp. v. Twp. of Union, 945 F.2d
628, 631 (3d Cir. 1991). The Fourth Circuit followed this practice when
presented with a request to enjoin state conduct that allegedly violated

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     Lastly, although the Court should not reach these issues, neither

the 2023 redesign nor the 2018 HAVA directive conflicts with any law

that the General Assembly has passed.

     2023 Redesign. Plaintiffs do not identify any intelligible theory for

how the 2023 changes conflict with state law. They cite a provision of law

that authorizes (as federal law requires) voters to apply to register to vote

when applying for a driver’s license. Am. Compl. ¶¶ 120, 122. The

redesign continues to allow for that opportunity.

     Plaintiffs note that the dual license/registration application must

in fact be an application. Id. ¶¶ 117-22, 129. But that remains the case

after the redesign. Individuals who meet Pennsylvania’s voter-eligibility

criteria are presented with the voter registration application when

applying for a new or a renewed driver’s license. Anyone may decline to

complete the registration application by opting out. Anyone who does not

opt out then completes the application’s required fields. The completed



the Elections Clause because Plaintiffs were asking a federal court to
determine “a close issue of state law involving competing interpretations
of North Carolina’s statutes governing election procedures and
implicating complex questions concerning the separation of powers in the
state.” Wise v. Circosta, 979 F.3d 93, 101 (4th Cir. 2020) (emphasis in
original).
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application is then sent to the relevant county commission for review and

an approval determination under 25 Pa.C.S. § 1328.

       No one is required to go through the voter-registration application

process, and no one who does go through the process is automatically

registered. Plaintiffs do not (and could not) plausibly allege any

differently. See generally id. ¶¶ 109-38.

       2018 HAVA Directive. HAVA instructs that voter registration

applications must include the applicant’s driver’s license number or the

last   four   digits   of   their   Social    Security    number.   52    U.S.C.

§ 21083(a)(5)(a)(i). If the applicant does not have either, the state can give

the voter “a number which will serve to identify the applicant for voter

registration purposes.” Id. § 21083(a)(5)(A)(ii).

       HAVA further requires that if an applicant provides their driver’s

license or Social Security number, that number is compared to a

department     of   transportation’s    database     or   to   Social    Security

information. Id. § 21083(a)(5)(B). Yet, while HAVA requires this

matching process, “it does not say what the consequences of failing a

match are on voter registration.” Fair Fight Action, Inc. v. Raffensperger,

593 F. Supp. 3d 1320, 1328 (N.D. Ga. 2021); see also Washington Ass’n of


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Churches v. Reed, 492 F. Supp. 2d 1264, 1268 (W.D. Wash. 2006)

(describing function of HAVA’s matching requirement as administrative

rather than for confirming eligibility). Instead, HAVA allows states to

determine if the number that HAVA requires an applicant provide when

possible “is sufficient to meet the requirements [of HAVA], in accordance

with State law.” 52 U.S.C. § 21083(a)(5)(A)(iii).

     Since HAVA was enacted, some states have required a driver’s

license or Social Security number as part of their own voter application

process or have mandated that the information provided under HAVA be

used for a particular purpose in the state’s process (such as confirming

the applicant’s identity). E.g., Fla. Stat. § 97.053(5)(A), (6); Wash Rev.

Code § 29A.08.107; Fair Fight, 593 F. Supp. 3d at 1330 (describing

Georgia’s matching requirement).

     Pennsylvania’s General Assembly has done neither. Thus, HAVA

alone requires a registration applicant in Pennsylvania to provide their

driver’s license number or Social Security number if they have one.

Under HAVA, that number, if provided, must be compared against an

external database. But there is nothing in Pennsylvania law (or in




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HAVA) that requires that number match the same number in an external

database as a condition of successful registration.

     Because the 2018 directive does not even implicate a state law, it

certainly does not conflict with a state law.

                                CONCLUSION

     Because no Plaintiff has standing, the Amended Complaint should

be dismissed under Rule 12(b)(1). Otherwise, the Amended Complaint

should be dismissed with prejudice under Rule 12(b)(6) because Plaintiffs

have failed to state a claim.



March 20, 2024                           Respectfully submitted,

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                               CERTIFICATES

         I hereby certify that a copy of this brief has been served on all

counsel of record using the Court’s CM/ECF system.

         I further certify that this brief contains 4,769 words and therefore

complies with Local Rule 7.8(b). In making this certificate, I have relied

on the word count of the word-processing system used to prepare the

brief.



March 20, 2024                        /s/ Jacob B. Boyer
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